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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:13-00326-01

RICHARD A. MULLINS


               PROBATION REVOCATION AND JUDGMENT ORDER
                     MEMORANDUM OPINION AND ORDER


           On August 7, 2017, the United States of America

appeared by Monica D. Coleman, Assistant United States Attorney,

and the defendant, Richard A. Mullins, appeared in person and by

his counsel, Michael D. Payne, for a hearing on the petition on

probation and amendment thereto submitted by United States

Probation Officer Jeffrey D. Bella.          The defendant commenced a

three-year term of probation in this action on July 8, 2014, as

more fully set forth in the Judgment Including Sentence Under

the Sentencing Reform Act entered by the court on July 9, 2014.

By order entered on March 29, 2017, the court extended the

defendant’s probation for a period of two years.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

used and possessed controlled substances as evidenced by a

positive urine specimen submitted by him on May 15, 2017, for

methamphetamine and buprenorphine, the defendant having admitted

to the probation officer that he used methamphetamine

approximately three times over the prior month; and as evidenced

by a positive urine specimen submitted by him on July 7, 2017,

for methamphetamine, the defendant having denied using

methamphetamine, after which the probation officer sent the

specimen for confirmation that was returned positive for

amphetamine and methamphetamine; (2) the defendant failed to

follow the instructions of the probation officer inasmuch as on

April 4, 2017, he was instructed to continue following the

treatment recommendations from his recovery coach and failed to

do so; and (3) the defendant failed to abide by the special

condition that he complete the Within Reach Program for a

minimum period of six months and as long as twelve months, which

commenced in early February 2017, inasmuch as he was removed

from the program on May 5, 2017, for failing to follow the rules

and regulations of the facility; all as admitted by the
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defendant on the record of the hearing and as set forth in the

petition on probation and amendment thereto.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

probation and, further, that it would unduly depreciate the

seriousness of the violations if probation were not revoked, it

is ORDERED that the probation previously imposed upon the

defendant in this action be, and it hereby is, revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant should be confined to

the extent set forth below, it is accordingly ORDERED that the

defendant be, and he hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

SIX (6) MONTHS, to be followed by a term of three (3) years of

supervised release upon the standard conditions of supervised

release now in effect in this district as promulgated by the

Administrative Office of the United States Courts (National Form

AO 245B), the standard conditions as set forth in Local Rule

32.3 and the special condition that, as soon as feasible upon

his release, participate in the 9 to 12 month program at
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Recovery Point in Huntington, West Virginia, where he shall

follow the rules and regulations of the program, and participate

in drug abuse counseling and treatment as directed by the

program and the probation officer.         If bed space is not

available at Recovery Point upon defendant’s release from

incarceration, he shall participate in a comparable residential

drug treatment program as directed by the probation officer.


           The defendant was remanded to the custody of the

United States Marshal.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.

                                         DATED:       August 9, 2017


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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